Case 2:19-cv-08182-SB-AFM Document 56 Filed 02/05/21 Page 1 of 3 Page ID #:518




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     TAREK EL MOUSSA and CHRISTINA
9    ANSTEAD
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11
                        UNITED STATES DISTRICT COURT
12
                      CENTRAL DISTRICT OF CALIFORNIA
13
14   BLACKSTONE HAMILTON,                  Case No.: 2:19-cv-08182-SB (AFMx)
15   individually and on behalf of         District Judge: Hon. Stanley Blumenfeld Jr.
     others similarly situated,            Courtroom 6C
16
17               Plaintiff,
                                           STIPULATION DISMISSING ACTION
18    vs.                                  WITH PREJUDICE AS TO
                                           DEFENDANTS TAREK EL MOUSSA
19   TAREK EL MOUSSA, an
     individual, CHRISTINA                 AND CHRISTINA ANSTEAD
20   ANSTEAD, an individual, REAL
21   ESTATE ELEVATED LLC, a
     Nevada limited liability company;
22   ZURIXX, LLC, a Utah limited
     liability company, and DOES 1
23   through 50, inclusive,
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                 Defendants.
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                                         STIPULATION
Case 2:19-cv-08182-SB-AFM Document 56 Filed 02/05/21 Page 2 of 3 Page ID #:519




1                                        STIPULATION
2          Pursuant to Fed. R. Civ. P. 4l(a)(l)(A)(ii) and Civil Local Rule 7-1, Plaintiff
3    Blackstone Hamilton (“Plaintiff”) and Defendants Tarek El Moussa (“El Moussa”)
4    and Christina Anstead (“Anstead”), by their attorneys of record, hereby stipulate to
5    dismiss the instant action, including all claims and counterclaims, as to El Moussa
6    and Anstead with prejudice and without costs or fees to any party.
7
8    DATED: February 5, 2021                       MATERN LAW GROUP, PC
9
10
                                           By: /s/ Joshua D. Boxer
11
                                             Matthew J. Matern
12                                           Joshua D. Boxer
13                                           Attorneys for Plaintiff
                                             Blackstone Hamilton
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15
     DATED: February 5, 2021           FOLEY BEZEK BEHLE & CURTIS, LLP
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17
18                                         By: /s/ Roger N. Behle, Jr.
19
                                             Roger N. Behle, Jr.
                                             Kevin D. Gamarnik
20                                           Attorneys for Defendants
21                                           Tarek El Moussa and Christina Anstead
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                                         STIPULATION
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1                  ATTESTATION OF CONCURRENCE IN FILING
2          I, Roger N. Behle, Jr., am the ECF user whose ID and password are being
3    used to file the foregoing Stipulation. Pursuant to Local Rule 5-4.3.4(a)(2), I hereby
4    attest that all signatories listed above, and on whose behalf this filing is submitted,
5    concur in the filing’s content and have authorized the filing.
6
     DATED: February 5, 2021            FOLEY BEZEK BEHLE & CURTIS, LLP
7
8
9                                            By: /s/ Roger N. Behle, Jr.
10                                             Roger N. Behle, Jr.
                                               Kevin D. Gamarnik
11
                                               Specially Appearing for Defendants
12                                             Tarek El Moussa and Christina Anstead
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                                          STIPULATION
